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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                        )
 IN RE PETITION OF GEOFFREY SHEPARD                     )       Misc. No. 11-0044 (BAH)
                                                        )

                             GOVERNMENT’S STATUS REPORT

          In accordance with this Court’s order of October 11, 2018, requesting a “status report

informing the Court of the status of NARA’s review process,” the government hereby notifies

the Court and petitioner that, on this day, the redacted Road Map was posted to a public

webpage, and can be found at https://www.archives.gov/research/investigations/watergate.

During the course of its archival review, NARA was able to match some additional information

to that in the public domain, and has, accordingly, opened that additional information to the

public.

Dated: October 31, 2018                             Respectfully submitted,

                                                    JODY H. HUNT
                                                    Assistant Attorney General


                                                        /s/ Elizabeth J. Shapiro
                                                    ELIZABETH J. SHAPIRO
                                                    United States Department of Justice
                                                    1100 L Street, NW, Room 12100
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                                                    Attorneys for the United States
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                              CERTIFICATE OF SERVICE

      I hereby certify that on this date, I caused a copy of the foregoing Notice of

Filing to be sent through electronic mail, to the following:


GEOFFREY C. SHEPARD
Three Old Mill Lane
Media, PA 19063
Email: geoff@geoffshepard.com



Dated: October 31, 2018
                                                    /s/__Elizabeth J. Shapiro_____
                                                       Elizabeth J. Shapiro
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